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September 8, 2021
VIA ECF

The Honorable Denis R. Hurley

Senior United States District Court Judge
Eastern District of New York

100 Federal Plaza

Central Islip, NY 11722

Re: USA v. Taieek Smith
19-cr-00124 (DRH)

Dear Judge Hurley,

As you are aware, this office represents Taieek Smith. It is with great sadness
that I advise the Court that Mr. Smith’s grandmother, Ruby L. Baldwin passed away on
September 4, 2021 at Good Samaritan Hospital. Ms. Baldwin helped raise Mr. Smith and the
defense is respectfully requesting that Mr. Smith be allowed to attend the service on Saturday,
September 11, 2021. Mr. Smith is currently incarcerated at the Metropolitan Detention Center
(MDC). Both the viewing and the service will be held at In the Word Ministries, 86 Gordon
Avenue, West Babylon, NY 11704. The burial will be will be held right after at Pinelawn
Memorial Park and Arboretum, 2030 Wellwood Avenue, Farmingdale, NY 11735. We are
requesting that Mr. Smith be released on electronic monitoring and stay with his mother at 75
Lincoln Avenue, Wyandanch, NY 11798. Upon completion of the funeral, Mr. Smith can be
brought back to MDC. The defense can provide any information the Court requires to
accommodate this request.

The Government has opposed this request. Thank you for your consideration.

    

MITCHELL C. ELMAN

Cc: Assistant United States Attorney Mark Misorek
